Case 1:14-cv-14176-ADB Document 471-16 Filed 08/03/18 Page 1 of 5




  EXHIBIT 17
       Case 1:14-cv-14176-ADB Document 471-16 Filed 08/03/18 Page 2 of 5




                              UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF MASSACHUSETTS
                                       BOSTON DIVISION



     STUDENTS FOR FAIR ADMISSIONS,
     INC.,

                 Plaintiff,

                 v.                                   Civil Action No. 1:14-cv-14176-ADB


     PRESIDENT AND FELLOWS OF                        Leave to file granted on July 31, 2018
     HARVARD COLLEGE (HARVARD
     CORPORATION),

                 Defendant.




 DECLARATION OF THE NATIONAL BOARD OF DIRECTORS OF HARVARD LATINO
                       ALUMNI ALLIANCE (SIG)


     NATIONAL BOARD OF DIRECTORS OF THE HARVARD LATINO ALUMNI
ALLIANCE (SIG), pursuant to 28 U.S.C. Section 1746, declares the following:

1.        We are the National Board of Directors of the Harvard Latino Alumni Alliance. We are

writing this declaration in support of the consideration of race, as one of many factors, in Harvard’s

admissions policy. As representatives of the Latino community, we believe that we offer a unique

perspective on the positive impact of race-conscious admissions policies; one rooted in its merit,

rather than speculation.

2.           The National Board is elected by members of the Harvard Latino Alumni Alliance

(“HLAA”).
       Case 1:14-cv-14176-ADB Document 471-16 Filed 08/03/18 Page 3 of 5




3.      The mission of the HLAA is to develop a network and sense of community among current

and future Harvard alumni who self-identify as Latino and reside or work in the United States; to

increase Latino representation throughout the University; and to encourage Latino alumni

involvement in University alumni activities and affairs.

4.        HLAA was officially founded in 2015, as a culmination of various efforts over the last

30 years. Founding members saw the need for a formal organization connecting Latino students

across the University. The National Board is comprised of alumni from a majority of schools across

the Harvard campus whose attendance and graduation dates span nearly 40 years. Over the past

three years, HLAA has grown significantly in number of members, hosting events across the

country and connecting alumni with students. The HLAA provides its increasing number of

community members with opportunities to advance their careers through recruitment, mentoring

and networking.

5.        Since our founding, we have surveyed our members and held town hall meetings to

understand the needs of our community. Many of our members have expressed the need for

diversity on campus and have shared their feelings that as Latino students, the lacked support.

HLAA student-focused goals include building a pipeline of Latino applicants and making sure

admitted Latino students feel welcome and are given the resources they need to succeed at Harvard.

We strive to ensure that all Latinos are on a path to success not only at Harvard, but at other

academic institutions across the USA.

6.    While there has been an increase in Latino acceptance rates on campuses across the United

States, we feel that more needs to be done. Removing race-conscious factors from admissions

might jeopardize this progress, as well as further hinder academic achievement of Latino students
        Case 1:14-cv-14176-ADB Document 471-16 Filed 08/03/18 Page 4 of 5




by eliminating the critical mass that provides vital support to the already underrepresented Latino

student base.

7.             Many of our members are first-generation college students and come from socio-

economically disadvantaged families. We believe that race-conscious admissions helps these

students compete with students educated at better schools and with greater access to opportunities

and experiences that enhance the potential for admission and academic success at Harvard. It is

our concern that if race-conscious admissions is removed from the process, Latino students will

be negatively impacted as they pursue higher education.

8.         Many of our alumni have benefited from racially diverse institutions, conversations,

organizations, etc. Through our experience both at the university and professionally, we have seen

first-hand how diversity improves the sharing of ideas, beliefs, etc. If not for race-conscious

admissions policies, we believe that the quality of our education would have been hindered. Future

generations should have even more diverse opportunities than we have. It is our hope that our

society continues to embrace the benefits of diversity, moving this agenda forward through

dialogue and conversation. We believe that admissions policies that are race-conscious assist in

this effort.

9.      As a diverse body of Latino alumni, spanning decades of history and experiences, as well

as representing the experience of various schools on Harvard’s campus, our National Board

wholeheartedly supports race-conscious admissions.
       Case 1:14-cv-14176-ADB Document 471-16 Filed 08/03/18 Page 5 of 5




I declare under penalty of perjury that the foregoing is true and correct.

Executed on this day, July 27, 2018.




                                                      ___________________________________
                                                             Debra Sanchez Reed
                                                             National President
                                                             Founding Board Member
                                                         Harvard Latino Alumni Alliance
